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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     §
                                             §
                                             §
v.                                           §         Case No. 21-CR-00022-KBJ
                                             §
                                             §
CHRISTOPHER RAY GRIDER,                      §
                                             §
        Defendant                            §

               DEFENDANT’S UNOPPOSED MOTION TO TRAVEL

TO THE HONORABLE COLLEEN KOLLAR-KOTELLY, UNITED STATES DIS-
TRICT COURT JUDGE FOR THE DISTRICT OF COLUMBIA:

        CHRISTOPHER RAY GRIDER, the Defendant in the above styled and num-

bered cause, by and through undersigned counsel, moves this Court to, as an excep-

tion to his conditions of release, permit him to travel to the Western District of Mis-

souri for a family vacation.

1. Prior to transfer to this Court, Judge Ketanji Brown Jackson ordered the release

     of Mr. Grider on conditions of release on February 22, 2021. (Doc. Nos. 14 & 15).

     Among other conditions, she ordered Mr. Grider to participate in a location re-

     striction/monitoring program with a GPS leg monitor and a curfew of 10:00 pm to

     6:00 am. (Doc. No. 14). Since his release, he has fully complied with that condition.

2. Judge Jackson further restricted Mr. Grider’s travel within the Western District

     of Texas where he resides and the Southern District of Texas where undersigned

     counsel has his primary place of business. (Doc. 14).

3. As Mr. Grider had informed Judge Jackson during the proceedings related to his



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   detention, his children are on summer break from school and Mr. Grider wishes

   to be able to take his children on a vacation away from their home in the Western

   District of Texas as he typically does during the summer break. Mr. Grider is

   presently seeking permission from the Court to travel by car to the Western Dis-

   trict of Missouri July 31 through August 8 (exact dates and locations have been

   provided to his pretrial officer, as well as the attorney for the Government, and

   are omitted here to insure his safety and security but can be provided via a sup-

   plement filed under seal if needed).

4. As confirmed with his pretrial supervision officer and the attorney for the Govern-

   ment, Mr. Grider would take his location monitoring equipment with him to mon-

   itor his movements while on this vacation.

5. Undersigned counsel conferred with Mr. Grider’s pretrial supervision officer, Kit

   Meyers, as well as the attorney for the Government, Candice Wong, and both are

   not opposed to this motion.

      WHEREFORE, PREMISES CONSIDERED, Mr. Grider respectfully requests

this Honorable Court permit him to travel to the Western District of Missouri from

July 31 to August 8, provided that he takes his location monitoring equipment with

him to monitor his movements while on this vacation.

Date: July 27, 2021                       Respectfully Submitted,

                                          MAYR LAW, P.C.

                                          by: /s/ T. Brent Mayr
                                          T. BRENT MAYR
                                          Texas State Bar Number 24037052
                                          D.C.D.C. Bar ID TX0206


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                                        ATTORNEY FOR THE DEFENDANT,
                                        CHRISTOPHER RAY GRIDER



                       CERTIFICATE OF CONFERENCE

      I certify that I conferred with Counsel for the Government, Candice Wong, and

Mr. Grider’s pretrial supervision officer, Kit Meyers, and both are not opposed to this

motion.

                                        /s/ T. Brent Mayr
                                        T. BRENT MAYR



                          CERTIFICATE OF SERVICE

      I certify that a true and correct copy of this motion was sent to Counsel for the

Government, Candice Wong, on July 27, 2021, via CM/ECF and email.

                                        /s/ T. Brent Mayr
                                        T. BRENT MAYR




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